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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Robert Santana,                           :
                                          : Case No. 1:22-cv-00237
              Plaintiff,                  :
                                          : Honorable Jorge L. Alonso
International Brotherhood of Teamsters,   :
James Hoffa, Teamsters Joint Council 25,  :
Terry Hancock, Teamsters Local 700, and   :
Ramon Williams,                           :
                                          :
              Defendants.                 :
________________________________________________________________________

                           SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Agreement”) is made this fifteenth day of June

2022 between       Plaintiff   Robert    Santana    (“Plaintiff”)   and   Defendant   International

Brotherhood of Teamsters, Local 700 ("Local 700"). The signatories to this Agreement are

hereinafter referred to jointly as the “Parties.”

                                        PREAMBLE

        WHEREAS, on January 14, 2022, Plaintiff, instituted an action against the Defendants

International Brotherhood of Teamsters (“International”); James Hoffa, the former President of

the International; Teamsters Joint Council 25 (“Joint Council”), Terry Hancock, the current

President of the Joint Council; Local 700; and Ramon Williams, the current President of Local

700, which action has been docketed in the United States District Court for the Northern District

of Illinois—Eastern Division as Civil Action No. 22-cv-00237 (the "Civil Action");

        WHEREAS, in the Civil Action, the Plaintiff asserted, inter alia, that Defendants

violated the International Constitution when internal union charges were filed against him and
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those internal union charges resulted in his loss of membership in the International and removal

from his elected position at Local 700;

        WHEREAS, Plaintiff’s membership in the International has been restored and he has

been reinstated in his elected position;

        WHEREAS, Plaintiff filed with the Court a voluntary dismissal of the International

after his membership in the International was restored and he was reinstated to his elected

position with Local 700;

        WHEREAS, Local 700 denies and its officers deny that they have acted unlawfully with

respect to the Plaintiff in any manner whatsoever;

        WHEREAS, the Parties have a good faith dispute concerning Plaintiff's claims; and

        WHEREAS, the Parties desire to avoid the necessity, expense, inconvenience, and

uncertainty of litigation and to amicably, and finally, resolve and settle any and all claims and

disputes between them arising from the internal union charges and the discipline imposed against

Plaintiff;

        NOW, THEREFORE, in consideration of the releases and mutual promises contained

herein and other good and valuable consideration exchanged between the Parties, the receipt and

sufficiency of which is hereby acknowledged, the Parties agree as follows:

1.0     Settlement

        1.1    On or about June 8, 2022, Local 700 placed in escrow funds sufficient to meet

its obligations under this Agreement.

        1.2    Within seven (7) days from receipt of a fully executed Settlement Agreement

and Release, Local 700 shall cause a payment in the amount of One Hundred and Three

Thousand, Four Hundred and Sixty-One Dollars and Fourteen Cents ($103,461.14) made
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payable to Plaintiff with all applicable local, state, and federal taxes, including Social Security

and Medicare taxes, deducted from said amount.

         1.3    Local 700 will also make contributions to (1) the Central States Pension Fund

in the amount of $10,478 and (2) the Retirement Savings Plan – a 401k retirement plan—in

the amount of $7,833.33 as directed by Central States Pension Fund and the Retirement

Savings Plan.

         1.4    Additionally, within seven (7) days after execution of this Agreement, Plaintiff

shall provide Local 700 the documentation that was required to be submitted to the Health and

Welfare Fund in September 2021 for Plaintiff to be considered for a college tuition

reimbursement for one of his adult children who is attending an institution of higher learning.

Upon receipt of Plaintiff’s supporting documentation and a determination by Local 700 that

he is eligible for a tuition reimbursement under the terms and conditions set forth in the Health

and Welfare Fund’s benefit plan, Local 700 shall provide said reimbursement in an amount not

to exceed $10,000 within seven (7) days of the eligibility determination.

         1.5    Within three (3) business days from receipt of a fully executed Agreement,

Plaintiff, through his counsel, shall file a Stipulation of Dismissal, with prejudice of all claims

asserted against Local 700 and Ramon Williams, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), which

shall also provide that each party is to bear their own attorneys' fees and costs.

 2.0      Releases

         2.1    Effective upon full execution of this Agreement, Plaintiff releases Local 700 and

all respective officers, directors, employees, agents, shareholders, attorneys or any person acting

on Local 700’s behalf, from any and all claims, demands, causes of action, debts, controversies,

or liabilities of any kind whatsoever both known and unknown, matured or unmatured, liquidated
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or unliquidated, asserted or unasserted, both in law and equity, which Plaintiff may have had

against Local 700 and all respective officers, directors, employees, agents, shareholders,

attorneys or any person acting on Local 700’s behalf, at any time up to and including the date of

execution of this Agreement, except that Plaintiff does not release the above from those claims

covered by the currently-pending charge dated May 20, 2022 filed with Joint Council 25 by

Plaintiff and three other members of the Executive Board against Ramon Williams.

3.0     Miscellaneous Terms and Conditions

        3.1   Plaintiff acknowledges and agrees that, by entering into this Agreement, Local

700 and its respective officers in no way admit any liability to Plaintiff by reason of any matter

whatsoever. This Agreement is not, and shall not, be construed as an admission of any

wrongdoing and/or liability by Local 700 and its respective officers.

        3.2   This document contains the complete agreement between the Parties and

supersedes all previous understandings, commitments, memoranda or representations between

the Parties concerning the issues herein.

        3.3   This Agreement may be modified only by a written document signed by the

Parties. No waiver of this Agreement or of any of the promises, obligations, terms , or

conditions hereof shall be valid unless it is written and signed by the party against whom the

waiver is to be enforced.

        3.4   This Agreement shall be binding upon the Parties hereto, their predecessors,

successors, parents, assigns, agents, and attorneys.

        3.5   If any part of any provision of this Agreement shall be finally determined to be

invalid or unenforceable under applicable law by a court of competent jurisdiction, that part shall
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be ineffective to the extent of such invalidity or unenforceability only, without in any way

affecting the remaining parts of said provision or the remaining provisions of said Agreement.

       3.6   If, in any action for breach of this Agreement, any material term is claimed to be

omitted from this Agreement, the reviewing Court shall supply a reasonable term rather than

voiding this Agreement.

       3.7   This Agreement is made and entered into in the State of Illinois and shall in all

respects be interpreted, enforced and governed under the laws of Illinois.

       3.8   The undersigned represents and warrants that they are authorized to execute this

Agreement and to bind themselves or the Party whom they represent thereto.

       3.9   The Parties each acknowledge that, in making this agreement, they are not relying

upon any statement or representation of the other Party or any agents thereof. Each Party

understands the entire contents of this Agreement and the legal consequences and intends to be

bound by the same.

      3.10 This Agreement may be executed in identical counterparts, each of which shall

constitute an original and all of which shall constitute one and the same agreement. A facsimile-

signed true and correct copy of this Agreement shall be binding and enforceable between the

Parties to the same extent as an original, as shall a signed document sent via electronic mail,

provided that such document shall be sent in PDF, read-only, format.

       WHEREFORE, by affixing their signature hereto, each Party acknowledges that they

have carefully read and understand this Settlement Agreement and Release; that the terms and

conditions set forth herein constitute the entire agreement and understanding between the

Parties; that they agree to the terms and conditions set forth herein; that they executed this
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